UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JESSICA DENSON, individually and on
 behalf of all others similarly situated,

                             Plaintiff,                                 ORDER

               - against -                                        20 Civ. 4737 (PGG)

 DONALD J. TRUMP FOR PRESIDENT,
 INC.,

                             Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

                Plaintiff intends to seek class certification under Fed. R. Civ. P. 23(b)(2) and

class-wide declaratory and injunctive relief to prevent enforcement of the non-disclosure and

non-disparagement provisions of Defendant’s Employment Agreement against anyone who

signed the agreement. (See Dkt. No. 49 at 1)

                Defendant asserts that the instant action cannot continue on a class basis because

any putative class members will be bound by the Employment Agreement’s arbitration

provision, which does not permit class treatment. (Id. at 2) Plaintiff responds that Defendant has

both expressly and impliedly waived its right to enforce the Employment Agreement’s

arbitration by electing to litigate this action in federal court and through its conduct in this action.

(See Dkt. No. 53 at 1-4) Plaintiff further contends that class discovery and certification must

precede any attempt to compel arbitration. (Id. at 4)

                Defendant has not yet addressed Plaintiff’s arguments that Defendant expressly

and impliedly waived its right to enforce the Employment Agreement’s arbitration provisions, or

that any motion to compel arbitration must be made after class discovery and certification.
               Accordingly, the parties will submit briefing on the extent to which the

Employment Agreement’s arbitration provision precludes class treatment of the instant action.

The parties will submit briefs setting forth their positions by May 18, 2021. Responsive briefs

will be due by May 25, 2021.

Dated: New York, New York
       April 27, 2021
                                                    SO ORDERED.


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                                                    Paul G. Gardephe
                                                    United States District Judge
